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                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA

                                         CRIMINAL MINUTES – GENERAL


Case No.        EDCR15-00093-JGB                                                               Date: October 20, 2020


Present: The Honorable:            JESUS G. BERNAL, UNITED STATES DISTRICT JUDGE

Interpreter: N/A

                                                                                             Julius Nam - (Telephone)
                                                                                          Christopher Grigg - (Telephone)
                                                                                          Melanie Ann Hanson Sartoris –
       Maynor Galvez / Noe U. Ponce                      Phyllis A. Preston                         (Telephone)
                   Deputy Clerks                      Court Reporter / Recorder                   Assistant U.S. Attorney


  U.S.A. v. Defendant(s)     Present Cust   Bond              Attorneys for Defendants:              Present App      Ret

Enrique Marquez, Jr. (Presence Waived)                              John Aquilina, CJA (Telephone)             √      √




Proceedings: Telephonic Status Conference - (Held and Completed)

         The case is called, and counsel state their appearances.

         A status conference was held.

       The Court orders the parties to confer and coordinate with each other, and to provide the information
requested by the Court, as stated on the record.

         IT IS SO ORDERED.




CC: POLA / USMED



                                                                                                                 00:25
                                                                                Initials of Deputy Clerk        MG/NP




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